              Case 4:22-cv-07226-HSG Document 24 Filed 03/03/23 Page 1 of 3



 1   SHANNON LISS-RIORDAN (SBN 310719)
     (sliss@llrlaw.com)
 2
     THOMAS FOWLER (pro hac vice forthcoming)
 3   (tfowler@llrlaw.com)
     LICHTEN & LISS-RIORDAN, P.C.
 4   729 Boylston Street, Suite 2000
     Boston, MA 02116
 5
     Telephone: (617) 994-5800
 6   Facsimile:     (617) 994-5801

 7   Attorneys for Plaintiffs Dmitry Borodaenko
     and Abhijit Mehta, on behalf of themselves
 8
     and all others similarly situated
 9
                               UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
11

12                                                 Case No. 4:22-cv-07226-HSG
     DMITRY BORODAENKO and ABHIJIT
13   MEHTA, on behalf of themselves and all others
     similarly situated,                           PLAINTIFFS’ NOTICE OF RECEIPT OF
14
                                                   NOTICE OF RIGHT TO SUE
15                         Plaintiffs,

16                v.
17
     TWITTER, INC.
18
                             Defendant.
19

20

21

22

23

24

25

26

27

28




                       PLAINTIFFS’ NOTICE OF RECEIPT OF NOTICE OF RIGHT TO SUE
                Case 4:22-cv-07226-HSG Document 24 Filed 03/03/23 Page 2 of 3



 1            In Twitter’s Motion to Dismiss (Dkt. 15), it argued that Plaintiff Borodaenko’s disability
 2   discrimination claims under the Americans with Disabilities Act, 42 U.S.C. §§ 12101, et seq.
 3   (Count I), and the California Fair Employment and Housing Act, Gov. Code § 12940 (Count II),
 4
     should be dismissed because he had not yet received notices of right to sue from the Equal
 5
     Employment Opportunity Commission (“EEOC”) and the California Department of Fair
 6
     Employment & Housing (“DFEH”). The EEOC and DFEH have now issued notices of right to
 7
     sue as of February 22, 2023, attached as Exhibits A and B respectively. Plaintiffs maintain that
 8
     the administrative exhaustion requirement should be excused in light of the exigent
 9
     circumstances of this case, given that they had reason to believe that Twitter would seek full
10
     releases of claims from the putative class members in this matter, and thus Plaintiffs needed to
11
     quickly move for a protective order. See Plaintiffs’ Opposition to Twitter’s Motion to Dismiss at
12
     7-12 (Dkt. 21). In any event, now that the notice of right to sue has been issued, this issue is a
13
     moot point, and the case may now proceed. See Oliphant v. City and County of San Francisco,
14
     2010 WL 1875711, at *9 (N.D. Cal. May 7, 2010) (citing Wrighten v. Metropolitan Hospitals,
15
     Inc., 726 F.2d 1346, 1351 (9th Cir. 1984)).
16

17
                                                    Respectfully submitted,

18                                                  DMITRY BORODAENKO AND ABHIJIT
                                                    MEHTA, on behalf of themselves and all others
19                                                  similarly situated,
20                                                  By their attorneys,
21

22                                                  _/s/ Shannon Liss-Riordan____________
                                                    Shannon Liss-Riordan, SBN 310719
23                                                  Thomas Fowler (pro hac vice forthcoming)
                                                    LICHTEN & LISS-RIORDAN, P.C.
24                                                  729 Boylston Street, Suite 2000
                                                    Boston, MA 02116
25                                                  (617) 994-5800
                                                    Email: sliss@llrlaw.com; tfowler@llrlaw.com
26
                                                    Attorneys for Plaintiffs
27

28
     Dated:          March 3, 2023
                                                   1
                        PLAINTIFFS’ NOTICE OF RECEIPT OF NOTICE OF RIGHT TO SUE
              Case 4:22-cv-07226-HSG Document 24 Filed 03/03/23 Page 3 of 3



 1
                                    CERTIFICATE OF SERVICE
            I, Shannon Liss-Riordan, hereby certify that a true and accurate copy of this document
 2

 3
     was served on counsel for Defendant Twitter, Inc. via the CM/ECF system on March 3, 2023.

 4
                                                        /s/ Shannon Liss-Riordan
 5                                                      Shannon Liss-Riordan

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                 2
                      PLAINTIFFS’ NOTICE OF RECEIPT OF NOTICE OF RIGHT TO SUE
